                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                          CHATTANOOGA DIVISION
______________________________________________________________________________

STEVEN J. RUBENSTEIN,                  )
                                       )
      Plaintiff,                       )
                                       )        Civil Action No. 1:19-cv-189
                                       )
v.                                     )        Judge Mattice
                                       )
THE UNIVERSITY OF TENNESSEE,           )        Magistrate Judge Lee
      et al.                           )
                                       )
      Defendants.                      )
______________________________________________________________________________

           THE UNIVERSITY OF TENNESSEE’S MOTION TO DISMISS
______________________________________________________________________________

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant The

University of Tennessee respectfully moves this Court to dismiss this action on the grounds that

the Complaint fails to state a claim upon which relief can be granted. The Complaint fails to

comply with Federal Rule of Civil Procedure 8(a), in that it does not contain a short and plain

statement of the claim, much less present any facts or claim in a manner in which the University

could answer or prepare to defend.

       The legal grounds for this motion are more fully set forth in the supporting memorandum

of law filed with the motion.




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       Respectfully submitted this 19th day of July, 2019.


                                               /s/ Rachel K. Powell

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 19, 2019, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. The parties listed below will be served by regular U.S.
mail. Parties may access this filing through the Court’s electronic filing system.

                       Steven J. Rubenstein, Plaintiff pro se
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                                               /s/ Rachel K. Powell
                                               Rachel K. Powell




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